         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 1 of 6


                                                                              March 19, 2009




                                           09-CV-60422-Dimitrouleas-Rosenbaum




1 of 6
         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 2 of 6




2 of 6
         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 3 of 6




3 of 6
         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 4 of 6




4 of 6
         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 5 of 6




5 of 6
         Case 0:09-cv-60422-WPD Document 1 Entered on FLSD Docket 03/19/2009 Page 6 of 6




                          Dimitrouleas
                         XXXXXXX




6 of 6
